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 4
     Attorney for Defendant
 5
     ANGEL MARTINEZ-DIAZ
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-13-247 JAM
 9
                                                    )
                                                    )
10           Plaintiff,                             )       STIPULATION REGARDING
                                                    )       EXCLUDABLE TIME PERIODS
11
     v.                                             )       UNDER SPEEDY TRIAL ACT;
                                                    )       FINDINGS AND ORDER
12
     MARTINEZ-CHAIREZ, et al.,                      )
                                                    )
13
                                                    )       Date: December 10, 2013
             Defendants.                            )       Time: 9:45 a.m.
14
                                                    )       Judge: Honorable John A. Mendez
                                                    )
15
                                                    )
16

17
             The United States of America through its undersigned counsel, Richard J. Bender,
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19   Assistant United States Attorney, together with counsel for defendant Jose Maria Villareal,

20   Christopher R. Cosca, Esq., counsel for defendant Angel Martinez-Diaz, John R. Manning, Esq.,
21
     and counsel for defendant Jose Ramirez-Verduzco, Victor D. Vertner, Esq., hereby stipulate the
22
     following (defendant Jose Martinez-Chairez will remain on the November 12, 2013 calendar for
23

24
     change of plea):

25        1. By previous order, this matter was set for status conference on November 12, 2013.
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     Additionally, by previous order, the following motion schedule was agreed upon: defense
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     motions due 11/26/13; oppositions due 12/10/13; replies due 12/17; and, a hearing on the
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     motions is scheduled for 1/7/14. This previously agreed upon schedule is in no way impacted by
 1

 2   this stipulation.

 3       2. By this stipulation, defendants now move to continue the status conference (and
 4
     anticipated change of plea by one or more or the remaining defendants) until December 10, 2013
 5
     and to exclude time between November 12, 2013 and December 10, 2013 under the Local Code
 6

 7
     T-4 (to allow defense counsel time to prepare).

 8       3. The parties agree and stipulate, and request the Court find the following:
 9           a.    This case currently contains over a 100 pages of discovery as well as two DVD's
10
                  with videos and one CD of audio recordings (the recordings are in Spanish).
11
             b. Counsel for the defendants need additional time to review the discovery, conduct
12

13                investigation, and interview potential witnesses.

14           c. Counsel for defendants believe the failure to grant a continuance in this case would
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                  deny defense counsel reasonable time necessary for effective preparation, taking into
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                  account the exercise of due diligence.
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             d. The Government does not object to the continuance.
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19           e. Based on the above-stated findings, the ends of justice served by granting the

20                requested continuance outweigh the best interests of the public and the defendants in
21
                  a speedy trial within the original date prescribed by the Speedy Trial Act.
22
             f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
23
                  Section 3161(h)(7)(A) within which trial must commence, the time period of
24

25                November 12, 2013 to December 10, 2013 is deemed excludable pursuant to 18

26                United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
27
                  Local Code T-4 because it results from a continuance granted by the Court at
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                defendant’s request on the basis of the Court’s finding that the ends of justice served
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 2              by taking such action outweigh the best interests of the public and the defendants in a

 3              speedy trial.
 4
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 5
     Speedy Trial Act dictate that additional time periods are excludable from the period within which
 6

 7
     a trial must commence.

 8      IT IS SO STIPULATED.
 9   Dated: November 8, 2013                                      /s/ Christopher R. Cosca
10
                                                                  CHRISTOPHER R. COSCA
                                                                  Attorney for Defendant
11                                                                Jose Maria Villareal
12
     Dated: November 8, 2013                                      /s/ John R. Manning            _
13                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
14                                                                Angel Martinez-Diaz
15
     Dated: November 8, 2013                                      /s/ Victor D. Vertner
16                                                                VICTOR D. VERTNER
                                                                  Attorney for Defendant
17                                                                Jose Ramirez-Verduzco
18

19   Dated: November 8, 2013                                      Benjamin B. Wagner
                                                                  United States Attorney
20
                                                          by:     /s/ Richard J. Bender
21
                                                                  RICHARD J. BENDER
22                                                                Assistant U.S. Attorney

23

24                                               ORDER

25
            IT IS SO FOUND AND ORDERED this 8th day of November, 2013.
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27                                                        /s/ John A. Mendez______________
                                                          HONORABLE JOHN A. MENDEZ
28                                                        U. S. DISTRICT COURT JUDGE


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